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                       EXHIBIT B




                                 EXHIBIT B
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                         DATE:           June 23, 2020

                         TO:             Los Angeles County Board of Supervisors

                         FROM:           Heidi Marston, Executive Director, LAHSA

                         CC:             Sachi Hamai, Chief Executive Officer
                                         Phil Ansell, Director, Los Angeles County Homeless Initiative
                                         Emilio Salas, Acting Director, LACDA

                         SUBJECT:     Los Angeles County COVID Recovery Plan for Homelessness
                         _____________________________________________________________________

   Heidi Marston
                         BACKGROUND ON COVID-19 RESPONSE AND RECOVERY PLAN MOTION
    Executive Director

                         As of June 22, there have been 85,942 recorded cases of COVID-19 in Los Angeles County,
                         with 3,137 recorded deaths. The Board of Supervisors has gone to great lengths to reduce
                         the spread of COVID-19 since mid-March, instituting a shelter at home order, social
Board of Commissioners
                         distancing measures, and taking vital steps to protect vulnerable populations who face a
   Sarah Dusseault       heightened risk of hospitalization or death if infected with COVID-19.
        Chair

    Mitchell Kamin       Los Angeles County must continue these efforts to protect vulnerable people, especially
      Vice Chair
                         people experiencing homelessness. This population has disproportionately high rates of
                         underlying health conditions, cannot effectively physically distance, and faces compromised
     Kelli Bernard       or reduced access to hygiene infrastructure. Estimates from researchers Dennis Culhane and
     Noah Farkas
                         Randall Kuhn estimated that without concerted action, as many of 27,750 people
                         experiencing homelessness in Los Angeles County could become infected with COVID,
    Wendy Greuel         leading to nearly 3,000 hospitalizations and nearly 500 deaths.
    Lawson Martin
                         In response, Los Angeles County, in partnership with LAHSA, the State of California, cities,
      Irene Muro
                         and private motel and hotel operators launched Project Roomkey, to bring an especially
   Booker Pearson        vulnerable subset of the homeless population into hotel and motel rooms where they could
                         isolate, practice social distancing, and reduce their likelihood of contracting COVID-19. To
     Kelvin Sauls
                         date, Project Roomkey has brought 3,684 people experiencing homelessness into hotel and
 Jacqueline Waggoner     motel sites, with a focus on the most vulnerable.

                         On May 12, 2020, the Board of Supervisors approved a motion (Item No. 4, May 12, 2020
                         Agenda, authored by Supervisors Kuehl and Ridley-Thomas) directing the Los Angeles
                         Homeless Services Authority (LAHSA) to work in conjunction with partner agencies to
 Administrative Office   develop a recovery plan for homelessness. The Board directed LAHSA to report back in 15
   811 Wilshire Blvd.
                         days with a plan framework, along with a full plan with goals and objectives in 30 days.
        6th Floor
 Los Angeles, CA 90017   RECOVERY PLAN FRAMEWORK

                         LAHSA, working in conjunction with the Chief Executive Office’s (CEO) Homeless Initiative
  213 683.3333 - PH      (HI), the Department of Health Services (DHS) Housing for Health (HFH) and Office of
  213 892.0093 - FX      Diversion and Re-Entry (ODR), the Department of Mental Health (DMH), the Department of
  213 553.8488 - TY      Public Health (DPH), the City Administrative Officer of the City of Los Angeles (CAO)

    www.lahsa.org

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 developed the framework and presented it to the Board on May 26, 2020. In addition to providing a
 framework, the May 26, 2020 interim report back identified the following goals for the recovery plan:

     1. No Returns from COVID-19 Response to the Street: Anyone sheltered through Project Roomkey
        or any of the other COVID-response interim housing should not exit back to unsheltered
        homelessness;
     2. Rapidly House 15,000 of the Most Vulnerable People: With COVID likely to continue to present
        a threat to the health and safety of Angelenos, this recovery plan should move 15,000 of Los
        Angeles County’s most vulnerable people experiencing homelessness into housing as rapidly as
        possible. These housing placements should be in addition to the thousands that the Los Angeles
        homeless system already expects to house to ensure that this commitment does not reduce
        needed resources for families, youth, and other individuals.
     3. Reduce Inflow into Homelessness: As COVID leads to dramatic increases in unemployment,
        inflow into homelessness is expected to spike. This plan should ensure both that upstream
        systems take measures to keep people in their homes while also scaling up the prevention tools
        of the homeless system.
     4. Prepare Systems for Future Crises: While the Los Angeles homeless system has scaled up
        rapidly to address the moment at hand, it has placed inordinate strain on the system. A recovery
        plan should put in place the mechanisms to ensure the system can scale up as needed when
        faced with future crisis.
     5. Ensure Racial Equity Throughout: Prior to COVID-19, homelessness disproportionately impacted
        the Black and African American community in Los Angeles. With COVID-19 exacerbating this
        racial inequality, a COVID recovery plan must actively address racial inequality.


 SUMMARY OF RECOVERY PLAN

 As outlined in the enclosed proposed plan, in the immediate weeks ahead, the Los Angeles homeless
 services system is poised to begin moving 15,000 of the most vulnerable people experiencing
 homelessness, including people aged 65 and over, people with underlying health conditions, and people
 with other high-acuity needs into housing. The proposed re-housing recovery strategy utilizes an
 infusion of one-time resources to launch an initial lease-up period to quickly house the target
 population, and then works over a three-year period to facilitate successful exits or transfers to more
 appropriate programs.

 During the initial lease-up phase (July 2020 to June 2021), nearly all of the 15,000 people will be moved
 into a “bridging” unit, where they will have deeply subsidized rent, along with varying levels of services
 depending on their needs. A small number of the 15,000 people will be assisted through one-time
 problem-solving resources to facilitate their placement into permanent housing without a long-term
 subsidy, or will be moved directly into supportive housing as turnover units become available each
 month.

 Once housed through the lease up effort, participants will be continuously assessed and supported in
 exiting to permanent housing on several pathways, depending on their acuity of need. People with
 higher acuity will either be moved into supportive housing for long term affordability and support, or




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 will be connected to a long-term shallow subsidy to support their rent. For those with slightly lower
 acuities, participants will follow one of three pathways: A 15 month (on average) recovery re-housing
 subsidy, enhanced with supportive services that lead to an eventual exit into permanent housing, with a
 portion of these participants moving on to a long-term shallow subsidy; a nine month (on average)
 recovery re-housing subsidy that leads to an eventual exit into permanent housing, or problem-solving
 and one-time financial assistance for some of these clients to exit into permanent housing.

 In addition to the rehousing component, the recovery plan calls for significant efforts to be made to
 increase homelessness prevention efforts. This includes both scaling up LAHSA-funded prevention
 programming by 50%, while also strengthening upstream prevention efforts, including tenant
 protections to keep people in their homes.

 SUMMARY OF FUNDING REQUEST

 The entirety of this recovery plan is expected to cost $806,595,604 over the next three fiscal years.
 However, this includes some costs that are already being planned for in the existing homeless system,
 such as new supportive housing that is in the pipeline and existing homeless prevention programming.
 Of the total cost, $609,178,112 represent new costs over the next three years.

 These net new costs are listed below:

 Recovery Plan Net New Costs
  Component FY 21 Q1         FY 21 Q2         FY 21 Q3         FY 21 Q4        FY 22          FY 23         Three Year
                                                                                                            Estimate
  Project       $41,632,500   $3,202,500                 $0               $0            $0            $0    $44,835,000
  Roomkey
  Ramp-
  Down Costs
  Recovery      $47,495,144   $70,672,044     $80,466,512      $85,300,721     $134,560,310   $7,697,985    $426,192,716
  Bridge and
  Re-Housing
  Costs
  Long Term              $0              $0   $776,400         $4,294,775      $48,801,615    $69,017,983   $122,890,773
  Shallow
  Subsidy and
  PSH Costs
  Prevention    $3,814,906    $3,814,906      $3,814,906       $3,814,906               $0            $0    $15,259,623
  Scale Up
  Total Costs   $92,942,550   $77,689,450     $85,057,818      $93,410,402     $183,361,925   $76,715,968   $609,178,112



 NEXT STEPS

 Following the submission of this report, the CEO-HI will submit a follow-up report with funding
 recommendations by June 26, 2020. Pending those funding recommendations, the recovery command
 structure will begin ramping up the recovery and re-housing effort over the next 30 days to begin
 moving target populations into bridging housing. Additional cost estimates will be provided over the
 coming days on maintaining infection control in shelters as well as continuing outreach efforts to slow
 the spread of COVID among people experiencing homelessness.




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    Los Angeles Homeless Services Authority
        Report to the Los Angeles County Board of Supervisors
 COVID-19 Recovery Plan Related to People Experiencing Homelessness

                                June 23, 2020
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 LOS ANGELES HOMELESS SERVICES AUTHORITY
 REPORT BACK IN RESPONSE TO ITEM NO. 4, MAY 12, 2020 AGENDA

 I. BACKGROUND

 In mid-March, Los Angeles County issued its “Safer at Home” orders in response to growing numbers of
 local cases of SARS-CoV-2, the coronavirus that leads to COVID-19. The order asks Los Angeles County
 residents to practice social distancing and shelter in place as much as possible, given both high rates of
 infectiousness of this virus along with relatively high levels of lethality among vulnerable populations,
 including people ages 65 and over as well as people with underlying health conditions.

 With 66,433 people experiencing homelessness according to the 2020 Greater Los Angeles Homeless
 Count, about 48,000 of whom are unsheltered, many Los Angeles County residents are unable to shelter
 in place and abide by Los Angeles County Department of Public Health’s (DPH) physical distancing
 guidelines. In response, the Los Angeles Homeless Services Authority (LAHSA), Los Angeles County, and
 Los Angeles City have moved swiftly to protect the most vulnerable people experiencing homelessness
 by increasing testing of people experiencing homelessness, bringing new isolation and quarantine units
 online for those experiencing COVID-19 symptoms, establishing thousands of hotel and motel rooms for
 vulnerable people to shelter in place, and decompressing existing shelter sites in accordance with
 guidelines from local, state, and federal public health authorities.

 A. Project Roomkey

 This response to COVID-19 has included the launch of Project Roomkey, a collaborative effort between
 the State of California, Los Angeles County, and LAHSA aimed at enabling people experiencing
 homelessness to shelter in place by enlisting thousands of hotel rooms to serve as interim housing.
 These rooms are prioritizing people experiencing homelessness that are especially vulnerable to
 hospitalization and death if infected with COVID-19: people 65 and older, people with underlying health
 conditions, and other medically-vulnerable individuals, in alignment with guidance from the Centers for
 Disease Control and Prevention (CDC). As of Monday, June 15, a total of 3,684 people are sheltered in
 thousands of hotel rooms, with more people moving in every day. The rooms are funded through a
 combination of federal, state, and local funding.

 B. Homelessness Recovery Plan

 On May 12, 2020, the Board of Supervisors approved a motion (Item No. 4 of the May 12, 2020 Agenda,
 authored by Supervisors Kuehl and Ridley-Thomas) directing LAHSA to develop a COVID-19 recovery
 plan for homelessness in collaboration with key stakeholders and partners agencies. The intent of this
 plan is to ensure continued safety and health of the population experiencing homelessness in Los
 Angeles County, especially those people that are especially susceptible to hospitalization and death if
 infected with COVID-19.

 The motion directed LAHSA to work in collaboration with the Chief Executive Office (CEO), the
 Department of Health Services’ (DHS) Housing for Health (HFH) and Office of Diversion and Re-Entry
 (ODR), the Department of Mental Health (DMH), the Department of Public Health (DPH), and other key
 stakeholders including the City of Los Angeles, philanthropy partners, and others.

 The motion directed LAHSA to report back with an initial framework for the recovery plan in 15 days—
 LAHSA presented that framework to the Los Angeles County Board of Supervisors at the May 26th
 meeting and submitted a written report on the framework on May 27th. This framework was developed



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 in collaboration with the CEO Homeless Initiative, HFH, ODR, DMH, DPH, the City of Los Angeles, and the
 United Way of Greater Los Angeles.

 The report presented here seeks to use that framework to accomplish several overarching goals,
 including:

    •   Detailing a plan to quickly re-house 15,000 of the most vulnerable Los Angeles County residents
        experiencing homelessness, going beyond the number of people that the Los Angeles County
        homeless services system would normally expect to house under current funding for the system.
        These 15,000 housing placements target those who are vulnerable to COVID-19, including
        individuals sheltering in Project Roomkey hotel rooms, and other populations (discussed in
        greater depth below). This will ensure safety for vulnerable populations that are at high risk of
        hospitalization and death if infected with COVID-19 to align with public health goals.
             o This plan also assumes continued operations and ongoing funding for the rest of the
                 homeless services system as anticipated prior to the emergence of the COVID crisis.
                 Continued support of the mainstream homeless services system will be needed to
                 continue needed services and housing for families, youth, and other participants who
                 may not be targeted as part of this recovery effort.
    •   Determining how to support the continuation of vital infection and disease control practices in
        existing shelters, housing, and encampments, as COVID-19 is likely to continue to present a risk
        to these populations at least through the summer and fall of 2020.
    •   Sharing LAHSA’s projections of the cost of these interventions and highlighting potential sources
        of funding that could be used to fund this recovery plan.
    •   Continued focus on racial equity in this recovery, as Black and African American people are
        already disproportionately represented in the homeless population, and have been
        disproportionately impacted by the COVID-19 crisis, both in health and economic terms.

 Following the presentation of the Recovery Plan framework to the Board on May 26th, LAHSA continued
 to work with the key partners noted above and consulted with the following entities to develop the
 plans and estimates shared within this report, including:

    •   The Regional Homelessness Advisory Council (RHAC), which convened on June 4th, 2020;
    •   The Lived Experience Advisory Board, which convened on June 5th, 2020;
    •   The Homeless Youth Forum of Los Angeles (HYFLA), which convened on June 10th, 2020;
    •   The Coordinated Entry System (CES) Policy Council, which convened on May 27th, 2020.

 C. Recovery Command Structure

 As outlined in the framework provided to the board on May 27th, continued recovery planning and
 execution will be led by a collaborative team consisting of LAHSA, the CEO, DHS, DMH, and DPH, as well
 as the City of Los Angeles Mayor’s Office and Chief Administrative Office (CAO). As illustrated in the
 recovery command structure outlined below, this leadership team will be informed by and collaborate
 with an array of other partners and stakeholders – including the RHAC and the stakeholder groups it
 represents (officials from city jurisdictions, people with lived expertise of homelessness, service
 providers, and philanthropic partners, among others).




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 The recovery command structure also outlines the parallel efforts that must accompany the
 programmatic response of the homeless service delivery system in order to accomplish re-housing and
 recovery objectives, including acquisition and master leasing activities, identification and commitment
 of funding streams, and continuous research and evaluation to inform and refine the recovery strategy
 throughout implementation.

 Figure 1. Proposed Recovery Command Structure




 D. Commitment to Racial Equity and Continuous Evaluation

 Continuous evaluation of all activities will be carried out with a focus on equity; all pillars of response
 and phases of implementation will be monitored on an ongoing basis and revised as needed to ensure
 an effective and equitable recovery process. Regular data analysis will be centered on understanding the
 demographics of who is being served through a racial equity lens in order to 1) evaluate whether the
 recovery response equitably serves people of color and other vulnerable groups and to 2) make
 refinements to strategy where necessary. Ongoing feedback from those with lived expertise of
 homelessness will also inform this regular evaluation.

 II. ACTION PLAN: SUSTAINING EXISTING EFFORTS

 In the May 27th framework provided to the Board of Supervisors, LAHSA outlined needed responses
 across five primary areas of action: Unsheltered Homelessness, Shelter, Housing, Prevention and
 Diversion, and Strengthening Systems for the Future. The section below highlights efforts as part of the
 COVID-19 response that must be maintained transition from immediate response and toward a
 sustainable long-term recovery and preparedness. Housing efforts are discussed separately, within
 Section III (Action Plan: Re-Housing Recovery Strategy) of the report, while efforts on strengthening
 systems for the future will be discussed both in Section IV (Primary Prevention Efforts Needed) and
 Section V (Preparedness for Future Crises) of the report. The following section will focus on needed
 continuation of efforts next steps in the unsheltered, shelter, and prevention and diversion spheres.


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 A. Unsheltered Homelessness

                                      UNSHELTERED HOMELESSNESS
                    •Testing and screening, wellness checks, encouraging distancing protocols, street
   Immediate &
                    medicine engagement, support of hygiene efforts
    Short-Term
                    •Identify COVID-vulnerable and assess, refer to COVID-specific sites including
      Actions
                    Project Roomkey, recuperative care, quarantine, or other appropriate sites
    (0-30 Days)
                    •Problem-Solving interventions for low-acuity unsheltered
                    •Continue testing and screening protocols, wellness checks, distancing protocols,
  Medium-Term       street medicine engagement, support of hygiene efforts
    Actions         •Navigation to available interim housing, including Project Roomkey, quarantine,
  (31-60 Days)      recuperative care, and other appropriate housing and shelter options
                    •Ensure existing participants are document-ready
                    •Continue testing and screening protocols, wellness checks, distancing protocols,
   Longer-Term      street medicine engagement, support of hygiene efforts
      Actions       •Continue problem-solving, housing navigation
    (Beyond 60      •Continue navigation of COVID-vulnerable, symptomatic, and COVID-positive
       Days)        individuals into appropriate interim and permanent housing until immunization is
                    widely implemented or risk of COVID has abated

 County-funded outreach workers have shifted their functions to be responsive to the COVID-19
 pandemic. A number of key functions began in late March and have continued throughout the spring:

     •   Assisting with identifying people experiencing homelessness in need of a COVID-19 test and
         facilitating contact with DPH when testing is needed;
     •   Conducting ongoing wellness checks with individuals to determine whether they are
         experiencing symptoms of COVID-19;
     •   Contacting appropriate partners at DPH, DHS, and others for isolation and quarantine or
         sometimes hospitalization if a person is experiencing symptoms of COVID-19;
     •   Providing education and information to people experiencing homelessness on how to
         appropriately protect themselves, including information on distancing and spacing of tents and
         makeshift shelters, proper use of masks, frequent use of handwashing stations and hand
         sanitizer as available;
     •   Identifying sites where additional handwashing stations and hygiene infrastructure are needed
         and collaborating with appropriate County and City departments on placement of stations;
     •   Identifying people experiencing homelessness who are especially vulnerable to COVID-19,
         whether due to age or underlying health conditions that put them at risk, and adding them to
         the queue for Project Roomkey and other appropriate interim housing options so that they may
         move into a site when a room becomes available;
     •   Conducting problem-solving with people experiencing homelessness who are lower-acuity and
         may be able to resolve their homelessness by reconnecting with friends or family or with limited
         financial assistance.

 As the homeless services system transitions into the recovery from COVID-19, much of this activity will
 need to be maintained for as long as the risk of COVID-19 persists, even as Project Roomkey and other
 sites scale down. All above activities will need to continue among outreach workers seeking to address


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 unsheltered homelessness, with the exception of navigating COVID-19 vulnerable people to Project
 Roomkey sites. The added costs of continuing to conduct these activities above are still being analyzed,
 and these estimates will be shared with the Board as soon as they are available.

 B. Shelter

                                                     SHELTER
                     •Continue to bring new Project Roomkey sites online
                     •Extend leases with Project Roomkey and other COVID-19 sites on a rolling basis
   Immediate &
                     •Continued operation of existing decompressed congregate shelter sites
    Short-Term
                     •Coordination with DHS, DMH on testing at existing shelter sites and routing of
      Actions
                     shelter participants as appropriate based on testing results
    (0-30 Days)
                     •Provide infection control technical assistance tools to shelter providers in
                     collaboration with DHS
                     •Exit Project Roomkey and other high-risk shelter participants to housing through
                     Permanent Supportive Housing (PSH) matching, Rapid Re-housing (RRH), Problem-
                     Solving, and other interventions
  Medium-Term        •Continued testing and infection control at entire shelter portfolio in addition to
    Actions          Project Roomkey sites
  (31-60 Days)       •Extend leases with Project Roomkey, quarantine sites, and other COVID-related
                     shelter sites on a rolling basis
                     •Assess all shelter sites for infection control practices and begin a comprehensive
                     technical assistance effort for shelter providers
   Longer-Term       •Continued exiting of Project Roomkey and other high-risk shelter participants to
      Actions        housing through PSH matching, RRH, Problem-Solving, and other interventions
    (Beyond 60       •Continued testing and infection control at entire shelter portfolio, including
       Days)         Project Roomkey, along with continued technical assistance

 Beginning in March, LAHSA, DHS, and DMH began making adjustments to the existing shelter portfolio
 as part of the COVID-19 response efforts. These actions include:

     •   Reconfiguring existing shelter sites to allow for physical distancing and areas where people
         exhibiting symptoms of COVID-19 can quarantine, including moving higher-risk shelter
         occupants into Project Roomkey sites to accommodate lower capacity at these shelter sites;
     •   Opening new shelter sites at City Recreation and Parks facilities to increase overall capacity;
     •   Providing guidance to shelter operators on appropriate infection control practices in alignment
         with DPH guidance;
     •   Testing at shelter sites in collaboration with DPH, DHS, and DMH and routing/isolating people as
         appropriate.

 LAHSA, DHS, and DMH will need to continue infection control practices throughout the shelter portfolio
 in the late spring and summer, and as such, will be continuing to facilitate technical assistance to shelter
 providers in partnership with DHS. In addition, LAHSA is planning to assess all shelter sites for their
 infection control practices to ensure strict adherence to prevent future outbreaks in shelters. To that
 end, testing, technical assistance, and clinical oversight will continue to be a necessary component of
 the system’s shelter strategy, with a need for ongoing collaboration between LAHSA, DHS, DPH, and



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 DMH. Analysis on these additional costs beyond the normal costs of shelter operation is continuing, and
 cost estimates will be shared with Board when available.

 C. LAHSA-Funded Homelessness Prevention and Diversion

 In order to stem inflow into homelessness, upstream interventions are needed at the federal, state, and
 local levels to support incomes, prevent unsustainable rent increases and evictions, and shore up other
 safety net systems to support vulnerable people before they fall into homelessness. These efforts are
 needed to address homelessness in a longer-term, more sustainable manner, although these changes
 might not always address those at the most immediate risk of homelessness. Those needed, larger
 systemic efforts are discussed in Section IV (Primary Prevention Efforts Needed) below.

 In the immediate term, however, more resources and prevention tools will be needed to prevent people
 from falling into homelessness. Two primary LAHSA-funded programs are discussed below:

     •   The Preventing and Ending Homelessness Program (PEHP), which provides legal services and
         advocacy for people at risk of or experiencing homelessness;
     •   The Problem-Solving program, which trains staff at key points of inflow into the homeless
         services system on how to prevent or rapidly resolve a person’s homelessness through
         empowerment and motivational interviewing and provides participants with flexible financial
         assistance.

                                        PREVENTION & DIVERSION
                    •Provide problem-solving training for Project Roomkey staff to target low-acuity
   Immediate &      Project Roomkey participants for problem-solving resolutions
    Short-Term      •Increase accessibility of problem-solving flex funds for staff, targeted to Project
      Actions       Roomkey and other COVID-vulnerable participants
    (0-30 Days)     •Add financial assistance as an eligible component of the Preventing and Ending
                    Homelessness Program (PEHP) to stabilize more households
                    •Launch prevention and problem-solving trainings for all frontline homeless
  Medium-Term
                    services staff
    Actions
                    •Provide access to problem-solving assistance funds for COVID-vulnerable
  (31-60 Days)
                    populations, both Project Roomkey and non-Project Roomkey
   Longer-Term      •Ease the access to legal services programs for COVID-vulnerable populations at risk
      Actions       of falling in to homelessness
    (Beyond 60      •Increase homelessness prevention staffing throughout system
       Days)        •Ramp up prevention and problem-solving training for non-traditional partners

 During the COVID-19 crisis, LAHSA has sought to activate its prevention and diversion resources in
 several ways:

     •   Providing Project Roomkey staff with access to problem-solving training, to allow these staff to
         identify lower-acuity participants at Project Roomkey sites that might be safely reconnected to
         housing with minimal need for long-term financial assistance;
     •   Increasing access to problem-solving flexible financial assistance funds, which can be deployed
         across a range of uses to assist someone back into housing, including short-term rental



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         assistance, rental or utility arrears, car repair, or other uses. LAHSA has sought to give a broader
         array of staff the ability to utilize these funds to move people into permanent housing.

 These activities must be maintained in the near-term and long-term, especially as the economy
 continues to face extreme challenges that will leave thousands of households unable to pay their rent.
 Recent estimates from economist Dan O’Flaherty, the California Policy Lab, and Gary Blasi suggest that
 inflow into the homeless services system can be expected to increase between 40% and 61%.

 Given these estimates, LAHSA recommends robust funding for both the Homelessness Prevention
 program and the Problem-Solving program with the goal of increasing program enrollments by 50%
 beyond existing system funding, to account for the current and ongoing economic impacts of COVID-19.
 In addition, more funding must be provided to the cash assistance components of these programs.
 Research from the California Policy Lab has shown that homelessness prevention participants that are
 provided with cash assistance are four times more likely to retain their housing than participants who
 are not provided cash assistance.

 These prevention programs are already funded through the existing homeless services system; however,
 LAHSA does not anticipate the existing system to fund a 50% increase in enrollments, given constraints.
 As such, cost estimates are provided for this ramp-up in prevention funding, with increased funding
 relative to previously-anticipated FY 20-21 funding identified as net new funding that should be funded
 through this recovery plan.

 In addition, LAHSA will be making additional recommendations in the coming weeks on streamlining
 certain functions of homelessness prevention programs to allow cash assistance to be accessed more
 readily and to remove administrative barriers to the intake process. In order to increase program
 capacity by 50% in the homelessness prevention sector and accommodate more households that are
 unable to access prevention services through traditional safety net systems, LAHSA recommends
 funding for homelessness prevention programs to serve 2,114 families in FY 20-21, and 2,284 individual
 adults and youth. These costs listed below are for the entirety of the Homelessness Prevention and
 Problem-Solving programs, including both the needed net new investments to increase enrollments and
 the existing system investments that are anticipated:

               Table 1. Total Need for LAHSA-Funded Homelessness Prevention, FY 20-21
                                                    Families                  Adults and Youth
         Per Month Average                                        176                           190
         Annual Served                                          2,112                         2,280
         Monthly Cost Per Slot                                 $9,100                        $6,785
         Total Monthly Cost                                $1,601,600                    $1,289,150
         Annual Cost FY 20-21                             $19,219,200                   $15,469,800
         Total Monthly Prevention Cost                                                   $2,890,750
         Total Annual Prevention Cost                                                   $34,689,340

 In addition to Homelessness Prevention program funding, LAHSA anticipates continuing to scale up
 Problem-Solving program funding to assist 50% more people to prevent or rapidly resolve their
 homelessness. LAHSA anticipates serving 720 households with Problem-Solving funds over FY 20-21, or
 60 households per month. This is in addition to the 795 households expected to be served through the
 re-housing strategy described below and is instead targeted at addressing anticipated new inflow into
 the system due to the economic impacts of COVID-19.


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                       Table 2. Need for LAHSA-Funded Problem-Solving, FY 20-21
                           Households Per Month                          60
                           One-Time Cost Per Household              $2,400
                           Monthly Cost                          $144,000
                           Annual Households Served                     720
                           Annual Cost                         $1,728,000

 Taken together, LAHSA has identified $36,417,340 in FY 20-21 need for Homelessness Prevention and
 Problem-Solving program funding to increase these activities as inflow increases and to sustain the
 homeless services system accordingly. This figure includes utilizing about $21,157,717 in
 existing/anticipated homeless services system resources for prevention, along with $15,259,623 in net
 new funding being requested through the recovery plan to increase prevention enrollments by 50%.

 III. ACTION PLAN: RE-HOUSING RECOVERY STRATEGY

 A. Re-Housing Recovery Strategy Overview

 As outlined in the framework presented to the Board of Supervisors on May 27th, a central objective of
 the COVID-19 recovery plan is to ensure that the homeless services system can quickly and effectively
 house all those who have been temporarily sheltered through COVID-19 crisis response efforts, as well
 as other people experiencing homelessness who are highly vulnerable or at high risk of complications
 due to current or future outbreaks of COVID-19. Accomplishing this objective requires both accelerating
 and increasing the scale at which the re-housing process operates at present.

 The proposed re-housing recovery strategy described in detail below utilizes an infusion of one-time
 recovery resources to launch an initial lease-up period to quickly house the target population, and then
 work over a three-year period to facilitate successful exits or program transfers. This strategy includes
 the following core components:
     • Leveraging Project Roomkey and other COVID-19-related shelter to provide on-site services,
          assessment, linkages to mainstream benefits, access to problem-solving resources, and active
          support to participants in need of permanent housing placements to obtain necessary
          documentation to enable rapid lease-up and move-in when housing resources become
          available;
     • Active problem-solving and connection to one-time financial assistance to facilitate permanent
          housing exits from COVID-19-related shelter for low-acuity individuals;
     • Targeted matches to PSH for high-acuity individuals as units become available through turnover
          or the PSH development pipeline;
     • Identification and acquisition of large batches of units that will accept rental subsidies;
     • Rapid lease-ups from Project Roomkey, other COVID-19 shelter sites, or unsheltered locations
          to these newly-acquired units, with a rental subsidy and case management support;
     • Continuous assessment of newly-housed participants to determine what additional supports
          may be needed and/or what long-term housing intervention is most appropriate to meet their
          needs; and
     • Based on continuous assessment, supporting participants to retain housing independently or
          through connections to appropriate housing interventions – including retaining housing with an




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         ongoing shallow subsidy, transferring to PSH as units become available, or connecting to a
         higher level of care when needed.

 B. Target Population and Service Pathways

 The proposed re-housing recovery strategy would provide permanent housing placements and long-
 term housing stability for 15,000 of Los Angeles County’s most vulnerable residents experiencing
 homelessness. This includes three primary groups of individuals and households:

     1. Those who have been temporarily housed through supplemental efforts to reduce COVID-19
        transmission;
     2. Those who are at high risk of complications from COVID-19 transmission (per the CDC’s
        guidance) who are either unsheltered or in other shelter settings; and
     3. Others who are highly vulnerable.

 The proposed strategy outlines differentiated service pathways, in accordance with a participant’s level
 of acuity. As outlined below, service pathways are approximated using CES Triage Tool score ranges;
 however, actual service connections would rely on continuous assessment of individuals’ needs, in
 addition to case conferencing. It is also important to note that individual service pathways may deviate
 from the general pathways described here, if a higher or lower level of intervention is determined to be
 most appropriate, based on this continuous assessment and case conferencing.

 The re-housing strategy proposes two overarching service pathways to permanent housing for the
 15,000 individuals in the target population:
     • Recovery Bridge Subsidy: This pathway would assist an estimated 47% (7,050) of the target
         population (those with acuity scores of 12 and above), through a full rental subsidy and case
         management support that would serve as a bridge to longer-term assistance through a shallow
         subsidy or PSH. (Note: A portion of these participants may be placed directly into PSH when
         available, rather than being first housed through the bridge subsidy.)
     • COVID-19 Re-Housing: This pathway would provide one-time or time-limited rental assistance
         and case management support to an estimated 53% (7,950) of the target population (those with
         scores below 12), with the goal of facilitating successful permanent housing exits without
         ongoing assistance. (Note: a small portion of these participants is anticipated to require ongoing
         support through a shallow subsidy, as described below, and others would be connected to
         additional support as needed, based on continuous assessment.)

 As demonstrated in Figure 2, lease-ups through one of these two primary pathways (or directly into PSH
 when available) are expected to be complete by the end of June 2021. Permanent housing exits and
 transfers would begin immediately (through Problem-Solving interventions, and as PSH turnover units
 are available) and continue through years two and three of the recovery period, with the goal of
 completing permanent housing exits or program transfers by the end of June 2023. Each of these
 primary service pathways is described in greater detail below. Notably, as proposed, participants served
 through both pathways are expected to receive a full rental subsidy at the onset. This would enable the
 expedited unit identification and lease-up required by reducing administrative burden on service
 providers, providing greater confidence for landlords to support recruitment efforts, and removing
 uncertainty for participants – particularly given the economic impacts of COVID-19.




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                       Figure 2. Re-Housing Recovery Strategy: Service Pathways




 Recovery Bridge Subsidy
 Participants served through the proposed Recovery Bridge Subsidy pathway would receive full rental
 assistance, case management (at a ratio of one to 20), and continuous assessment to determine the
 most appropriate long-term intervention to ensure housing stability. LAHSA estimates that 80% (5,640)
 of those served through this pathway would need ongoing assistance through PSH. These individuals
 would be transferred to PSH as units become available through turnover or as new PSH resources come
 online. LAHSA estimates that 20% (1,410) of participants in this service pathway would not require the
 ongoing supportive services of PSH and would instead be assisted through an ongoing shallow subsidy,
 after an initial six months of assistance through the recovery bridge subsidy. In addition, participants
 served through this recovery bridge subsidy pathway who are in need of a higher level of care may be
 identified and transferred to other permanent housing resources (such as licensed residential care
 facilities) as needed.

 COVID-19 Re-Housing
 The COVID-19 Re-Housing pathway can be further broken down into three types of service packages,
 which vary in both length and intensity of assistance.
     • Recovery Re-Housing Plus (Recovery RH+): Individuals with mid-high acuity (scores between
        eight and 11) would receive 15 months on average of rental assistance (up to 12 months of a full
        subsidy, with additional tapered assistance for up to six months) and case management support
        at a ratio of one to 20. LAHSA estimates that 50% (3,975) of individuals targeted for the COVID-
        19 Re-Housing pathway would be served through Recovery RH+. Of these, an estimated 20%
        (795) would require ongoing rental assistance through a shallow subsidy to retain housing after
        the COVID-19 Re-Housing assistance period. (Note: Although not included as a specific service
        pathway, individuals who are determined to be in need of a higher level of service, based on
        continuous assessment, may be transferred to PSH as appropriate.)



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     •   Recovery Re-Housing (Recovery RH): Individuals determined to have mid acuity (scores of six or
         seven) would receive nine months on average of rental assistance (up to six months of full
         subsidy with an additional six months of tapered assistance) and a case management ratio of
         one to 25. LAHSA estimates that 40% (3,180) of individuals in the COVID-19 Re-Housing pathway
         would be assisted through Recovery Re-Housing.
     •   Problem-Solving: LAHSA estimates that 10% (795) of individuals targeted for the COVID-19 Re-
         Housing pathway would have low acuity (scores between zero and five). These individuals would
         receive problem-solving assistance, including one-time financial assistance where appropriate,
         to exit to permanent housing.

 Table 3 below illustrates the total number of individuals each pathway is expected to serve.

                              Table 3. Re-Housing Strategy Service Pathways
                 Re-Housing Goal                                        15,000       100%
                 Recovery Bridge Subsidy                             7,050        47%
                   Transfer to PSH                                    5,640       80%
                   Move-on to Shallow Subsidy                         1,410       20%
                 COVID-19 Re-Housing                                 7,950        53%
                   Recovery RH+*                                      3,975       50%
                   Recovery RH                                        3,180       40%
                   Problem-Solving/One-Time Assistance                  795       10%
                 *Note: 20% of those served through the Recovery RH+ pathway are anticipated to
                 receive an ongoing shallow subsidy.

 It is important to note that this COVID-19 re-housing recovery strategy is intended to operate in parallel
 to existing efforts to serve and house other populations experiencing homelessness that fall outside of
 these three groups. As such, LAHSA proposes that existing resources dedicated to serve specific sub-
 populations (e.g. families with children, transition age youth, survivors of domestic violence, veterans,
 etc.) and mid- and lower-acuity participants remain dedicated.

 C. What it Will Take to Achieve the Re-Housing Objective

 Accomplishing the re-housing objective outlined above will require strategic shifts in system
 management practices and re-housing processes, as well as targeted investment of human capital and
 other resources. The core shifts required are outlined below.

     1. A unit identification and acquisition strategy that includes deployment of unit holding fees
        Existing location efforts have created a foundation of units available to accept housing subsidies.
        Given the urgent timeline of this rehousing effort and our commitment to leveraging the
        moment to engage new landlords and acquire housing inventory, partnerships with City and
        County leadership will be critical to the acquisition plan's success, as will funding toward
        increased housing locators to outreach to property owners and managers. Acquisition strategy
        needs are described in further detail below.

     2. The ability to quickly assign available units to people ready to move into housing




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         This leverages the work of the Housing Central Command to centralize and streamline
         "matching," the process by which people experiencing homelessness are connected to
         appropriate, available housing resources.

     3. Dedicated staff to help people find and move into available units
        The work of "housing navigation" bridges the efforts of outreach and other access points with
        the work of moving someone into permanent housing. This process includes housing search and
        unit identification, housing applications, and document and ID readiness. The growth and
        efficacy of the housing navigation component will be critical to the success of this expedited
        rehousing process.

     4. A robust housing inventory management system to enable active tracking of all available
        resources
        Housing Central Command has started this work which becomes increasingly more critical
        during this rehousing effort, requiring increased collaboration across system partners.

     5. The ability to buy at scale and pre-assemble move-in kits, including basic furnishings and
        household supplies
        Centralizing and streamlining the work of providing necessary home goods to support move-in
        kits would support efforts to expedite and coordinate the move-in of a large number of people.

     6. Housing units and subsidies available immediately to enable swift exits to housing
        This speaks to the need for efficient coordination between each system component to provide
        available units to be quickly matched to highly vulnerable participants and to expedite move-ins
        for people exiting time-limited COVID-19-related shelter.

 Deploying these strategies will equip the homeless service delivery system to house people at the speed
 and scale that is required for this crisis response, and will also position the system to continue re-
 housing people experiencing homelessness throughout the recovery period and beyond.

 D. Action Steps & Timeline

 The table below summarizes key actions required in the short (30 days), medium (30 to 60 days), and
 longer-term (beyond 60 days) time periods to realize the re-housing strategy objectives outlined above.

                                               RE-HOUSING
                    •Actively work with participants within the target population to prepare
                    documentation (including partnership with DMV and DPSS to obtain IDs) to
                    streamline matching and enable rapid move-ins to permanent housing
   Immediate &      •Provide intensive support and tracking to expedite housing for people in Project
    Short-Term      Roomkey and other COVID-19 shelter already matched to PSH
      Actions       •Partner with mainstream systems (including DPSS, DHS, DMH) through co-location
    (0-30 Days)     at Project Roomkey to ensure participants are connected to all benefits and income
                    supports for which they are eligible
                    •Participate in Governor’s 100 Day Challenge to enable Project Roomkey
                    participants over 55 years old to exit to permanent housing




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                 •Assess participants within Project Roomkey and other shelter sites to determine
                 what housing intervention is most appropriate, and to support housing exits
                 through problem-solving wherever possible or transfers to higher levels of care
                 where needed
                 •Develop site-by-site demobilization schedule for Project Roomkey and other
                 COVID-19 shelter sites, including exit resources needed to rehouse all residents
                 within each site
                 •Allocate funds and execute contracts with providers to provide problem-solving,
                 Recovery Re-Housing, and bridge subsidies to scale
                 •Explore viability of centralized rent administration fund
                 •Initiate lease-up to available PSH and to rental units (using existing, limited RRH
                 subsidies and time-limited services) for participants within Project Roomkey and
                 other shelter sites
                 •Initiate landlord engagement and acquisition efforts to secure a pool of units to
                 support quick-turnaround lease-up
                 •Enact land use/zoning changes to streamline acquisition/conversion process
                 •Continue and expand lease-ups to rental subsidies for appropriate Project
                 Roomkey participants and other COVID-vulnerable individuals
                 •Continue matching to PSH
  Medium-Term    •Examine data to refresh projections of housing resource needs and closely
    Actions      monitor for equity in housing placements
  (30-60 Days)   •Begin to house Project Roomkey residents using bridge housing subsidies for those
                 waiting for PSH matches and Recovery Re-Housing for other participants (aligned
                 with Project Roomkey/COVID-19 shelter demobilization schedule)
                 •Scale landlord engagement and acquisition efforts to secure a pool of units to
                 support quick-turnaround lease-up
                 •House remaining Project Roomkey residents using bridge housing subsidies for
                 those waiting for PSH matches and Recovery Re-Housing for other participants
                 (aligned with Project Roomkey demobilization schedule)
                 •Sustain landlord engagement and acquisition efforts to ensure a pool of units to
                 support quick-turnaround lease-up for recovery housing placements
                 •Continuously assess newly-housed participants to determine most appropriate
                 permanent housing exit pathway and to connect to a higher level of care when
   Longer-Term   needed
      Actions    •Expand and modify the existing Shallow Subsidy program model to provide access
    (Beyond 60   to shallow subsidies for participants served through the re-housing strategy
       Days)     •Continue matching to turnover PSH and new inventory
                 •Seek access to affordable housing units
                 •Make additional housing placements in licensed residential care facilities, sober
                 living homes, shared housing, and other arrangements
                 •Continue examining data and ongoing feedback from those with lived expertise to
                 evaluate effectiveness, monitor for equity, and inform modifications to the strategy
                 as needed




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 E. Housing Resources Required

 The strategy outlined above relies on a wide array of housing resources to achieve the large-scale, rapid
 connections to permanent housing required for an effective crisis response and recovery. Figure 3
 outlines the categories of new and existing resources required to achieve the recovery re-housing
 objective, broken down by exit pathway for the 15,000 individuals.

  Figure 3. Housing Resources Required to Achieve the Recovery Objective, by Participant Exit Pathway




 Note: Many individuals would be served through more than one subsidy type (e.g. an initial bridge subsidy before
 exit to a permanent subsidy such as PSH).

 As demonstrated in Figure 3, these housing resources include the following new, one-time recovery
 housing resources:
     • Problem-Solving: Problem-Solving interventions would be engaged to support exits to
        permanent housing – particularly for low-acuity participants – through leveraging participants’
        existing strengths and connection to mainstream resources, as well as providing one-time
        financial assistance when appropriate. This requires an expansion of existing problem-solving
        resources.
     • New Time-Limited Subsidies and Services: The rapid lease-up outlined in the plan would rely
        primarily on new time-limited rental subsidies and case management services. As described
        above, the level of support (including length of subsidy and intensity of case management) and
        exit pathway provided through this intervention would vary depending on the participant’s level
        of acuity and ongoing need.

 In addition to these one-time recovery housing resources, ongoing resources will be required to support
 those participants who are determined to need longer-term assistance. A portion of this ongoing


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 resource need is expected to be met through existing homeless services system resources (PSH turnover
 and pipeline), as described below.
     • PSH (Turnover, Pipeline, and New): The re-housing strategy relies both on direct placements
         into PSH as units become available, as well as the ability to transfer participants into PSH from
         bridge subsidies as needed. Turnover of existing PSH resources and new PSH resources
         anticipated through the PSH development pipeline are expected to account for approximately
         two-thirds (3,600) of the anticipated PSH need. The remaining one-third (2,040) would require
         additional PSH investment. As part of the strategy to increase availability of PSH resources
         required, additional exploration and expansion of “Moving On” initiatives is needed, to facilitate
         additional turnover of existing PSH resources.
     • Shallow Subsidy: New, targeted shallow subsidy resources would also play an important role in
         supporting successful exits for those who require an ongoing rental subsidy following the initial
         bridge subsidy period. This requires an expansion of existing shallow subsidy resources.

 In addition to the specific housing programs outlined above, participants re-housed through this
 strategy would be exited or connected to other permanent housing resources as appropriate, including
 affordable housing, shared housing, licensed residential care facilities, or other appropriate long-term
 interventions. Continued expansion and exploration of these additional types of permanent housing
 solutions is needed.

 F. Unit Acquisition Strategy

 In order to rapidly move thousands of vulnerable people into housing units, this strategy will take a
 multi-pronged approach to housing acquisition. This will include:
     • Hotel/Motel conversion;
     • Leasing-up of market-rate units;
     • Utilization of shared housing

 Hotel/Motel Conversion
 A key component of bringing additional supportive housing capacity online faster will be hotel and
 motel conversion, which could utilize an array of different funds, including state funds being considered
 in the FY 20-21 budget, as well as federal funds allocated to local jurisdictions through the CARES Act.
 The State Budget is likely to include up to $600 million for acquisition of hotels and motels statewide,
 with special emphasis on those that are serving as Project Roomkey sites. This funding is expected to
 come from the state’s allocation of federal Coronavirus Relief Funds, which must be expended by
 December 30, 2020.

 As this funding becomes available, the Acquisitions and Master Lease group of the Recovery Command
 Structure outlined above will work to identify sites and facilitate acquisitions to complement this
 recovery plan. The Acquisitions and Master Lease group will also consider additional sites that may be
 acquired using funds allocated through the CARES Act, including substantially vacant apartment
 buildings for immediate use as permanent housing, or land for installation of modular facilities.

 Leasing-Up of Market-Rate Units
 A significant number of market-rate housing units will need to be procured in order to execute the
 recovery plan. These units will be needed both as a bridge for participants waiting for supportive




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 housing placements and as a permanent housing exit for mid-to-low acuity participants that can sustain
 a rental unit, sometimes with a longer-term shallow subsidy.

 LAHSA believes that the homeless services system will be able to significantly increase the number of
 units that are available in the coming months, as the real estate market in Los Angeles has changed
 markedly as a result of the COVID-19 crisis. Average rents in Los Angeles County fell in May by 3.3% from
 the previous year and are expected to fall further through the first quarter of 2021.1 When coupled with
 the availability of holding fees proposed in this strategy, units should be able to be procured more
 rapidly than in prior years when the real estate market was considerably more competitive. In addition,
 this strategy will seek to leverage new innovation projects that the County is considering, such as
 modular or pallet housing that could bring additional low-cost units to the market.

 Utilization of Shared Housing
 This strategy also anticipates obtaining shared housing units for placements, where participants would
 have their own private bedroom but may share an apartment with additional tenants. At present, about
 25% of RRH placements are through shared housing, which has shown itself to be a scalable intervention
 for some populations.

 IV. PRIMARY PREVENTION EFFORTS NEEDED TO RESPOND TO ECONOMIC IMPACTS OF
 COVID-19

 In addition to both re-housing those currently experiencing homelessness and responding to people that
 are immediately at risk of becoming homeless (discussed in Part II above), Los Angeles County must
 consider changes to local policy, along with federal and state advocacy to prevent homelessness further
 in the future. While a large population of people will be immediately at risk of homelessness as COVID-
 19-related eviction moratoria are lifted, longer-term responses will be needed as households continue
 to struggle with the economic fallout of this crisis. See table below for a summary of these needed
 system interventions and activities:

                STRENGTHENING SYSTEMS FOR THE FUTURE: PRIMARY PREVENTION
                  •Increase awareness of new COVID-19 eviction protections and income supports
                  such as $1,200 stimulus payments for at-risk populations to help retain housing and
  Immediate &
                  reduce inflow into homelessness
    Short-Term
                  •Federal advocacy for homelessness funding, state advocacy for funding and
      Actions
                  homelessness prevention legislation
    (0-30 Days)
                  •Benefit advocacy in conjunction with DPSS and other agencies to sustain or
                  increase incomes
                  •Continued prevention advocacy at state level, funding advocacy at federal level
  Medium-Term •Strengthen prevention activities of upstream system partners
      Actions     •Stem Inflow with bolstered legal services, potentially funded with CDBG
   (31-60 Days)   •Continued benefit advocacy in conjunction with DPSS and other agencies to
                  sustain or increase incomes
  Longer-Term     •Increase SSI enrollments, other income supports through partnerships with DPSS
 Actions (Beyond and other agencies
      60 Days)    •Implement post-COVID-19 tenant protections, ramp up access to legal services

 1   Khouri, A. “Los Angeles average rent fell 3% in May.” The Los Angeles Times. 6/5/20.


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 According to the State of California’s Economic Development Department, the unemployment rate in
 Los Angeles County increased to 20.9% in May 2020, after nearly tripling from March to April. There is
 growing evidence that these job losses have been borne most heavily by the lowest income people,
 according to Federal Reserve surveys. The number of households experiencing crisis is sure to rise
 sharply. In order to counter the economic devastation of the COVID-19 crisis and ensure it does not lead
 to very large increases in the number of people experiencing homelessness in the longer term, Los
 Angeles must undertake twin efforts to strengthen its systems to stem homelessness more sustainably:

     •   Strengthen upstream and mainstream systems of care to support people at risk of losing their
         housing;
     •   Maintain and strengthen COVID-19-related tenant protections to keep people in their homes.

 A. Upstream Systems

 The role of upstream and mainstream systems of care in providing economic supports and preventing
 people from falling into homelessness is more crucial now than ever. In particular, partnerships with
 DPSS, WDACS, LACDA, along with Los Angeles’ Economic and Workforce Development Department
 (EWDD) and the Los Angeles Housing and Community Investment Department (HCID), among others will
 be essential to provide economic and social service supports necessary to ensure individuals and
 families can weather the economic crisis and retain their housing. Coordination with institutions and
 other systems of care, including the criminal justice system, child welfare system, and public healthcare
 systems will be equally critical to ensure no one exits these other systems into homelessness.

 Several steps must be taken and/or maintained in order to achieve the level of system coordination
 needed to further prevent at-risk households from entering the homeless services system. These steps
 are discussed below.

 System Capacity and Coordination
 Efforts to improve system throughput will allow the Los Angeles homeless services system to effectively
 serve more households, including before they fall in to homelessness. Key efforts must be undertaken to
 increase coordination between county agencies, LAHSA, and provider agencies. One vital effort would
 be to employ lessons learned from the coordination seen at Project Roomkey sites and apply these
 efforts for streamlined coordination of County benefits and CES case management services elsewhere in
 the system. Another key effort will be continued implementation of the recommendations for improved
 cross-system coordination put forward by the Ad Hoc Committee on Black People Experiencing
 Homelessness.

 Flexibility of Interventions
 In addition to more resources, the homeless services system should allow sufficient flexibility with
 resources to allow flexible interventions to be deployed across the system where they can house more
 people. For example, shallow subsidies are currently only deployed in the family system if a family is
 enrolled in the RRH program. Shallow subsidies should be able to be used across the system regardless
 of enrollment so that this intervention may help lift more people out of homelessness earlier, faster,
 and with less needed intervention from the broader system.




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 B. Maintain and Strengthen Tenant Protections

 In order to keep people in their homes, additional tenant protections will be needed at all levels, both
 for their continued duration of the COVID-19 health emergency and beyond that emergency.

 Local Policy
 Since the COVID-19 crisis unfolded, the County has taken critical steps to protect tenants from eviction.
 However, a number of additional steps are needed to prevent the economic impact of COVID to lead to
 higher homelessness in the coming months as the COVID-19-related restrictions begin to lift:

      •    The County should invest additional funding in expanding its right to counsel program. A robust
           right to counsel is needed in order to animate all other tenant protections and assist tenants to
           utilize these protections to stay in their homes. Moreover, a right to counsel program would
           extend benefits to a population that is far broader than the population of people at immediate
           risk of homelessness;
      •    The County’s COVID-19 emergency eviction orders require tenants that may not be able to pay
           rent to inform their landlord in writing of inability to pay within seven days of when rent is due.
           This should be made more flexible, as many households are facing a variety of crises and any
           administrative burden should be minimized for at-risk tenants;
      •    The County has also indicated that jurisdictions without restrictions on evictions must abide by
           the County’s emergency eviction restrictions for the duration of the COVID-19 emergency.
           However, jurisdictions with weaker or more administratively burdensome restrictions are able
           to have their restrictions apply instead of the stronger, less burdensome protections that the
           County has enacted. The County should require that the County restrictions be a floor, both in
           terms of strength of protections and ease of documentation requirements, and jurisdictions
           with weaker protections or processes that are more burdensome for tenants should be
           required to abide by the County’s protections for the duration of the COVID-19 emergency;
      •    Should the state not enact a stronger eviction moratorium or should the Judicial Council lift the
           prohibition on processing eviction cases before the local economy and tenants have sufficient
           time to recover, the County should enact its own moratorium on processing evictions that
           should extend at least three months beyond the Governor’s health order.

 State Advocacy
 In addition, advocacy to the state will be needed to enact needed legislation to prevent large numbers
 of households from losing their housing, including potential policies to regulate evictions and
 foreclosures, rent increases, and rent forgiveness. A number of critical pieces of legislation should be
 supported:

     •    The County should support and advocate for AB 2271, which would compel courts to share
          eviction data. This is critical towards establishing a better understanding of the relationship
          between evictions and homelessness, how to craft better eviction policy, and how to create
          better homelessness prevention tools;
     •    The County should support SB 1190, which ensures local jurisdictions are able to enforce new
          rent caps;
     •    Stronger statewide legislation to regulate and restrict evictions is needed. At present, Judicial
          Council restrictions on eviction may expire as soon as August 3rd, which would leave thousands
          of vulnerable households at risk of being evicted and falling in to homelessness;


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     •   The County should also advocate to the state to loosen timelines for responding to eviction
         filings—the present timeline of five days to respond to an eviction filing should be extended to
         ten days to allow tenants additional flexibility to weigh their options;
     •   Additionally, the County should support AB 1436, which would protect tenants from being
         evicted for rent owed during the duration of the COVID-19 period, and instead allows tenants to
         convert this balance into consumer debt. This would allow landlords to make claims to collect
         this money, but would not lead to eviction.

 Federal Advocacy
 In addition, the federal government is capable of playing a strong role in strengthening the safety net
 and preventing more people from being at risk of homelessness.

     •   The County should aggressively advocate for strong relief to both small landlords and tenants—
         this will ensure small landlords have flexibility to give relief to their tenants without risking
         foreclosure and losing their property to larger investors. The County should continuously urge
         the federal government to enact the relief offered in the HEROES Act, which would provide
         mortgage relief, along with $100 billion in rental assistance for tenants, and continued
         restrictions on evictions for HUD-funded properties;
     •   The County should urge the federal government to make additional stimulus payments to all
         residents earning below $75,000 and remove the restrictions on immigration or taxpayer status
         that were present in the CARES Act;
     •   The federal government should extend additional unemployment benefits through the HEROES
         Act, as many people will see their supplemental unemployment benefits expire at the end of
         July.

 V. PREPAREDNESS FOR FUTURE CRISES

 A wholistic recovery plan must also include a roadmap to ensure the Los Angeles homeless services
 system is equipped to respond to future surges of COVID-19 or other disease outbreaks. While the
 system has scaled up an interim housing infrastructure and infection control measures faster than ever
 before during the COVID-19 crisis, this has been accompanied by tremendous strain on public agencies
 and homeless service providers.

 The framework below outlines key system capacities that must be retained or further developed across
 five primary areas of action, in order to ensure the homeless services system has sufficient agility to
 respond to future crises in a more sustainable manner.

                                        UNSHELTERED HOMELESSNESS
  •Deployment of hygiene resources, including mobile showers and handwashing stations
  •Mobilization of street medicine capabilities for testing and wellness checks
  •Infrastructure and funding to support meal distribution
                                                    SHELTER
  •Protocols for on-site health screening and triage of symptomatic participants
  •Facility and staffing infrastructure to quickly decompress existing homeless service shelter sites and
  stand up supplemental shelter, including congregate, non-congregate, and isolation/quarantine sites




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  •Training and capacity building of homeless service providers to increase compliance with infection
  prevention measures
  •Partnerships to embed or enhance medical/clinical oversight at homeless service shelters
                                                   HOUSING
  •Protocols and best practice guidance to support remote case management and service provision
  •Re-housing infrastructure and resources to support rapid unit identification and move-ins
                                         PREVENTION & DIVERSION
  •Policies to trigger prevention practices in instances of large-scale unemployment/inability to sustain
  income (e.g. eviction moratorium, rent freeze, etc.)
  •Training and flexible resources to support problem-solving interventions within non-traditional
  shelter and other crisis response settings
                                         STRENGTHENING SYSTEMS
  •Further development of unified data systems and technology to strengthen contact tracing capacity
  •Racial equity framework to infuse an equity lens in all future crisis response activities and planning
  •Development of long-term disaster/crisis response plan for people experiencing homelessness
  •Partnerships and protocols to reactivate public health crisis command structure to ensure quick and
  effective communication of guidance to service providers and frontline workers
  •Ability to quickly provide intensive and continuous safety training for all direct service staff (outreach
  workers, case managers, shelter operators, etc.)

 In the coming weeks, the Recovery Leadership Team will work with the Los Angeles County Office of
 Emergency Management to engage in additional long-term disaster planning efforts to further develop a
 long-term crisis response plan. A key component of these efforts will be to build a strong framework for
 employing a racial equity lens and engaging people with lived expertise throughout all aspects of crisis
 response planning and decision-making.

 VI. FUNDING NEED

 An initial budget summary is provided below. The initial cost estimate details the costs of re-housing and
 retaining housing for an initial three-year period once this plan has launched. Additional costs will be
 incurred to fully implement all aspects of the plan detailed above. These costs are being analyzed
 further and include:
     • Services and rental subsidies for additional supportive housing units that participants will exit to
          following their “bridging” period, which extends beyond the 36 months covered in this plan;
     • Shallow subsidies for participants whose exit pathway requires additional rental subsidy beyond
          the recovery period;
     • Additional testing and infection control measures needed throughout the shelter portfolio on a
          longer-term basis.

 While some of these details are still forthcoming, the tables below outline a summary budget of re-
 housing efforts, ramp-down of Project Roomkey, and additional support for households in their exits
 from bridging units into more appropriate long-term destinations. It should be noted that a significant
 portion of the “Long-Term Shallow Subsidy and PSH costs” are accounted for by existing or anticipated
 resources within the homeless services system, including new PSH that is in the development pipeline,
 along with existing turnover PSH units. As such, two tables are presented below—one that anticipates
 “net new costs” to the homeless services system through this recovery plan, and another “overall costs”




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 table for this recovery plan which includes costs that are being leveraged from elsewhere in the
 homeless services system.

                                        Table 4. Recovery Plan Net New Costs
   Component       FY 21 Q1         FY 21 Q2         FY 21 Q3         FY 21 Q4           FY 22           FY 23        Three Year
                                                                                                                       Estimate
  Project        $41,632,500       $3,202,500                 $0                $0               $0              $0    $44,835,000
  Roomkey
  Ramp-Down
  Costs
  Recovery       $47,495,144      $70,672,044      $80,466,512      $85,300,721      $134,560,310      $7,697,985     $426,192,716
  Bridge and
  Re-Housing
  Costs
  Long Term                 $0               $0       $776,400        $4,294,775      $48,801,615     $69,017,983     $122,890,773
  Shallow
  Subsidy and
  PSH Costs
  Prevention      $3,814,906       $3,814,906       $3,814,906        $3,814,906                 $0              $0    $15,259,623
  Scale Up
  Total Costs    $92,942,550      $77,689,450      $85,057,818      $93,410,402      $183,361,925     $76,715,968     $609,178,112

 Overall costs will be somewhat higher—however, this recovery plan seeks to leverage existing PSH
 resources that are in the development pipeline, as well as turnover PSH units, and as such, not all costs
 are new.

                        Table 5. Recovery Plan Overall Costs, Net New and Leveraged
  Component      FY 21 Q1         FY 21 Q2         FY 21 Q3          FY 21 Q4           FY 22            FY 23         Three Year
                                                                                                                        Estimate
  Project       $41,632,500       $3,202,500              $0                $0                   $0              $0      $44,835,000
  Roomkey
  Ramp-
  Down Costs
  Recovery      $47,495,144      $70,672,044      $80,466,512       $85,300,721      $134,560,310       $7,697,985      $426,192,717
  Bridge and
  Re-Housing
  Costs
  Long Term       $858,500        $4,550,450       $9,314,250       $14,828,600      $115,635,165     $153,963,583      $299,150,548
  Shallow
  Subsidy and
  PSH Costs
  Prevention     $9,104,335       $9,104,335       $9,104,335        $9,104,335                  $0              $0      $36,417,340
  Scale Up
  Total Costs   $99,090,479      $87,529,329      $98,885,097      $109,233,656      $250,195,475     $161,661,568      $806,595,605


 A. Recovery Re-Housing Effort Costs

 The largest individual component of this plan is the recovery re-housing effort, which is comprised of
 navigation, case management, short-term rental assistance, and landlord engagement, among other
 components. The components of the recovery re-housing effort budget are below.




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                  Table 6. Three-Year COVID-19 Recovery Bridge and Re-Housing Costs
                                       Use                  Amount
                              Navigation                               $7,350,000
                              Case Management                         $45,863,125
                              Rental Assistance                      $231,562,465
                              Landlord Engagement                     $46,083,492
                              Security Deposits                       $45,510,000
                              Move-In Kits                            $25,767,750
                              Program Administration                  $24,055,885
                              Total                                  $426,192,717

 Several budget assumptions underly the varying pathways that are envisioned for participants in this
 recovery plan. Budget assumptions for each housing pathway are listed below.

                             Table 7. Per-Household Costs by Service Pathway
    Service    Number      Months    Monthly   Monthly   One Time          One Time       Monthly    Total Cost per
   Pathway        of          of     Rental     Case      Moving           Landlord       Cost per    Household
               Persons     Pathway    Cost      Mgmt       Cost +        Engagement/     Household      (Entire
                  in                            Cost     Security        Holding Fees                  Duration)
               Pathway                                    Deposit
  Bridge           7,050   Varying    $1,517      $313       $4,834            $3,034       $1,830      Varying
  Subsidy to
  PSH
  Recovery         3,975        15    $1,517      $313          $4,834         $3,034       $1,830         $29,072
  Re-Housing
  Plus
  Recovery         3,180         9    $1,517      $250          $4,834         $3,034       $1,767         $18,470
  Re-Housing
  Problem-          795          1    $1,517      $250          $3,284         $3,034       $1,767          $8,085
  Solving
  Recovery         1,410   ongoing      $759      $125             $0               $0        $884         $21,204
  Shallow
  Subsidy
  Other             795    ongoing      $531      $125             $0               $0        $656      Varying
  Shallow
  Subsidy


 The recovery budget is not uniform over the three-year period—expenses on the recovery budget are
 highest in the initial year, at $283.9 million, and minimal in year three, when more expenses are
 incurred in ongoing PSH and shallow subsidy costs and more participants are able to independently
 support their rents without subsidy. This is demonstrated in Table 8 below.




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                                  Table 8. Projected Per Month/Year Recovery Costs
                 Year 1                                 Year 2                               Year 3
  July 2020                  $8,524,656     July 2021             $18,765,609   July 2022               $2,565,995
  August 2020               $17,656,068     August 2021           $17,357,394   August 2022             $2,052,796
  September 2020            $21,314,420     September 2021        $16,186,770   September 2022          $1,539,597
  October 2020              $23,397,893     October 2021          $15,016,146   October 2022            $1,026,398
  November 2020             $23,570,685     November 2021         $13,845,522   November 2022             $513,199
  December 2020             $23,703,467     December 2021         $12,674,898   December 2022                   $0
  January 2021              $25,387,290     January 2022          $11,298,994   January 2023                    $0
  February 2021             $26,877,453     February 2022          $9,198,802   February 2023                   $0
  March 2021                $28,201,769     March 2022             $7,098,609   March 2023                      $0
  April 2021                $29,178,423     April 2022             $5,568,695   April 2023                      $0
  May 2021                  $29,682,958     May 2022               $4,263,427   May 2023                        $0
  June 2021                 $26,439,340     June 2022              $3,285,444   June 2023                       $0
  Year 1 Total             $283,934,422     Year 2 Total         $134,560,310   Year 3 Total            $7,697,985
  Recovery Total                                                                                      $426,192,717

 For the above monthly budget:
     • One-time move-in costs are anticipated to peak in September and October of 2020 at $2.9
         million per month as a result of peak load of moving participants into their service pathways.
         Similarly, security deposit costs peak in this same period at $5.2 million per month. These costs
         are expected to subsequently decline before phasing out by July 2021.
     • Navigation costs average $425,000 per month during the first year of recovery, before declining
         to $187,500 per month in the second year and phasing out in July 2022.
     • Rental assistance costs continue to increase as participants move in to units on both 15 month
         and nine (9) month program tracks. Rental assistance costs are anticipated to peak at $16.0
         million in June 2021, slowly declining as participants exit the program and phasing out in
         December 2022.
     • Case management is anticipated to follow the same course as rental assistance, with anticipated
         case management costs of $3.1 million in June 2021 and phasing out in December 2022.

 B. Project Roomkey Ramp-Down Costs and Ongoing Housing Costs

 LAHSA will work with the County to extend Project Roomkey leases as needed, to the extent that motels
 and hotels are willing to continue participating in the program. To conclude Project Roomkey, LAHSA
 anticipates a need of approximately $44.8 million through November 2020, with an average of 800
 people being re-housed out of Project Roomkey each month beginning in July 2020 and concluding in
 November 2020.
                  Table 9. Estimated Project Roomkey Ramp-Down, Summer/Fall 2020
                          July            August       September        October        November           Total
  Households                     400          1,000          1,000          1,000            600              4,000
  Re-Housed
  Monthly Cost     $19,215,000         $13,877,500       $8,540,000     $3,202,500               $0    $44,835,000

 In addition to the costs incurred above, some new ongoing costs will be incurred as a result of housing
 people using long-term resources such a shallow subsidies and supportive housing. These costs are
 estimated at $299,150,547 over the three-year period, although $176,259,775 of these resources are
 already accounted for in the existing system.




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                             Table 10. Long-Term Shallow Subsidy and PSH Costs
   Component      FY 21 Q1     FY 21 Q2     FY 21 Q3      FY 21 Q4        FY 22           FY 23        Three Year
                                                                                                        Estimate
  Recovery              $0            $0     $265,050     $1,060,200    $11,688,705    $14,948,820      $27,962,775
  Shallow
  Subsidy (Net
  New)
  PSH Gap Costs         $0            $0     $511,350     $3,234,575    $36,049,090    $48,332,880      $88,127,895
  (Net New)
  PSH Existing    $858,500     $4,550,450   $8,537,850   $10,533,825    $66,833,550    $84,945,600     $176,259,775
  Stock Costs
  (Existing
  System)
  Non-Recovery          $0            $0           $0             $0     $1,063,820     $5,736,283       $6,800,102
  Shallow
  Subsidy (Net
  New)
  Net New               $0            $0     $776,400     $4,294,775    $48,801,615    $69,017,983     $122,890,772
  Costs
  Total Costs     $858,500     $4,550,450   $9,314,250   $14,828,600   $115,635,165   $153,963,583     $299,150,547


 C. Funding Sources

 While the re-housing effort will entail a large amount of new expenditures in the face of economic
 recession, an array of new sources of funding are available that can be brought to bear. A summary of
 these available funding sources is below.

                                     Table 11. Potential Funding Sources
              Program                                 Recipient                       Funding Administrator
  CARES Act ESG                          Cities, Counties, Continuums of          Federal (HUD)
                                         Care (CoCs)
  CARES Act CDBG                         Cities, Counties                         Federal (HUD)
  Coronavirus Relief Funds               Cities, Counties                         Federal (Treasury)
  FEMA Disaster Relief Funds             Cities, Counties, CoCs                   Federal (FEMA)
  COVID-19 Emergency Funding             Cities, Counties, CoCs                   State
  HHAP                                   Cities, Counties, CoCs                   State
  HEAP                                   Cities, CoCs                             State

 Some of these sources, while available for homelessness activities, are not anticipated to be available in
 the longer term or may already be expended:

     •    While FEMA funding is approved through July 2020, it is unlikely to be an available resource
          moving forward;
     •    State COVID-19 Emergency Funding has been encumbered and expended will not be a resource
          moving forward;
     •    Several other resources are allocated to the existing homeless services system: Los Angeles
          County’s HHAP award has been allocated to shelter and supportive housing programs and the
          LA CoC’s HHAP award has been allocated to prevention, RRH, and shelter;
     •    Los Angeles County’s first tranche allocation of CDBG has been allocated.




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 More details on these funds can be found in Table 12 below.

                       Table 12. Potential Funding Sources (Detailed) and Eligible Uses
    Funding Source         Amount                 Recipient                 Eligible Uses                 Timeline
  Federal
  CARES Act ESG             $6,605,000   County                       Shelter, rental subsidies,   Two year expenditure
  Tranche 1                                                           prevention                   deadline
  CARES Act ESG            $16,673,030   City of LA                   Shelter, rental subsidies,   Two year expenditure
  Tranche 1                                                           prevention                   deadline
  CARES Act ESG             $5,224,000   County by way of State       Shelter, rental subsidies,   Two year expenditure
  Tranche 1                                                           prevention                   deadline
  CARES Act ESG            $62,445,943   County                       Shelter, rental subsidies,   Two year expenditure
  Tranche 2                                                           prevention                   deadline
  CARES Act ESG           $167,431,509   City of LA                   Shelter, rental subsidies,   Two year expenditure
  Tranche 2                                                           prevention                   deadline
  CARES Act ESG             TBD          County by way of State       Shelter, rental subsidies,   Two year expenditure
  Tranche 2                                                           prevention                   deadline
  CARES Act CDBG          $13,668,315*   County                       County                       Six year expenditure
  Tranche 1                                                                                        deadline
  CARES Act CDBG           $31,963,374   City of LA                   City of LA                   Six year expenditure
  Tranche 1                                                                                        deadline
  CARES Act CDBG            TBD          County                       County                       Six year expenditure
  Tranche 2                                                                                        deadline
  CARES Act CDBG            TBD          City of LA                   City of LA                   Six year expenditure
  Tranche 2                                                                                        deadline
  Coronavirus Relief    $1,057,341,432   County                       Response to COVID-19         Expenditure deadline of
  Funds                                                                                            12/30/20
  Coronavirus Relief      $694,405,324   City of LA                   Response to COVID-19         Expenditure deadline of
  Funds                                                                                            12/30/20
  State
  COVID-19                $10,963,460*   LA CoC                       Response to COVID-19         Encumbered by 6/30/20,
  Emergency Funds                                                                                  expended by 6/30/22
  COVID-19                $19,335,938*   City of LA                   Response to COVID-19         Encumbered by 6/30/20,
  Emergency Funds                                                                                  expended by 6/30/22
  COVID-19                $10,567,011*   County                       Response to COVID-19         Encumbered by 6/30/20,
  Emergency Funds                                                                                  expended by 6/30/22
  HHAP                    $66,271,041*   LA CoC                       Rental assistance,           Obligated by 5/31/23,
                                                                      shelter, prevention          expended by 6/30/25
  HHAP                   $117,562,500*   City of LA                   Rental assistance,           Obligated by 5/31/23,
                                                                      shelter, prevention          expended by 6/30/25
  HHAP                    $64,319,071*   County                       Rental assistance,           Obligated by 5/31/23,
                                                                      shelter, prevention          expended by 6/30/25
  FY 20-21 State            TBD          TBD                          TBD                          TBD
  Budget Funding


 As referenced above, some of these funding sources are already expended or allocated to other uses
 within the homeless or affordable housing. Funding sources demarcated with an asterisk (*) may already
 be obligated to existing programs.

 VII. NEXT STEPS AND RAMP-UP

 LAHSA, in collaboration with the Recovery Leadership Team, will continue to refine analysis and cost
 estimates, including working with the CEO in support of the funding and expenditure plan the CEO will
 submit to the Board of Supervisors as directed in Item No. 4 from the May 12, 2020 agenda.


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 Pending the funding recommendations from the CEO and their approval by the Board, the Recovery
 Leadership Team can commence the recovery plan in the next 30 days with several immediate actions to
 begin ramping up housing placements, including:

    •   Initiate lease ups with existing resources, including 500 units that are currently being held
        through for immediate placements out of Project Roomkey, as well as leasing up available and
        vacant PSH turnover units that have been identified by Housing Central Command;
    •   Augment the PATH Lease Up program by immediately authorizing hiring of staff to begin
        deploying holding fees and landlord engagement strategies on as many units as possible;
    •   Begin launch of centralized effort to recruit and train additional staff for homeless service
        provider agencies (including efforts to recruit and train staff with lived expertise of
        homelessness;
    •   Create plan and begin buying household move-in kits in bulk;
    •   Finalize Project Roomkey demobilization schedule and launch “Lease Up” events where
        participants from hotels that are demobilizing are able to view new units that become available;
    •   Coordinate transportation infrastructure to bring participants to available units, including
        determining leasing or leveraging use of County-owned vans.




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